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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                          :
 In re                                                                    :      Chapter 11 Case No.
                                                                          :
 LEHMAN BROTHERS HOLDINGS INC., et al.,                                   :      08-13555 (SCC)
                                                                          :
                                     Debtors.                             :      (Jointly Administered)
                                                                          :
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            ORDER RELIEVING THE PLAN ADMINISTRATOR AND THE
       DEBTORS OF THEIR DUTY TO CONTINUE TO MAINTAIN THE EXAMINER
        DATABASE IN ITS CURRENT FORM AND GRANTING RELATED RELIEF

                    Upon the motion (the “Motion”),1 dated February 27, 2019 of Lehman Brothers

 Holdings Inc. (“LBHI”), as Plan Administrator under the Modified Third Amended Joint Chapter

 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated Debtors (the “Plan”), pursuant to

 sections 105(a) and 1142(b) of title 11 of the United States Code (the “Bankruptcy Code”) for

 authority to cease maintenance of the Examiner Database, all as more fully described in the

 Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

 in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

 M-431, dated January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief

 requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of

 the Motion having been provided to (i) the U.S. Trustee; (ii) the Securities and Exchange

 Commission; (iii) the Internal Revenue Service; (iv) the United States Attorney for the Southern

 District of New York; (v) all parties who have produced documents contained in the Examiner

 Database and (vi) all parties who have requested notice in these Chapter 11 Cases in accordance


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     Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.
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 with the procedures set forth in the second amended order entered on June 17, 2010 governing

 case management and administrative procedures for these cases (ECF No. 9635); and it

 appearing that no other or further notice need be provided; and the Court having found and

 determined that the relief sought in the Motion is in the best interests of the Estates, their

 creditors, and all parties in interest, and that the legal and factual bases set forth in the Motion

 establish just cause for the relief granted herein; and after due deliberation and sufficient cause

 appearing therefor, it is

                 ORDERED that the Motion is hereby granted; and it is further

                 ORDERED that the Plan Administrator and the Debtors are hereby relieved of

 their obligation to continue to maintain to Examiner Database in its current form; and it is further

                 ORDERED that Micro Focus is hereby instructed to prepare a hard drive, which

 will contain all the Documents previously housed in the Examiner Database, with such hard

 drive to be held by the Plan Administrator as custodian; and it is further

                 ORDERED that in the event the Plan Administrator or any third party requests

 access to the Additional Documents, such party shall file a motion with this Court for authority

 to access the Additional Documents, and under no circumstances shall access occur before an

 order granting such motion is entered, and the Plan Administrator’s and all parties’ rights to

 object to any motion are presented; and it is further

                 ORDERED that the Plan Administrator may terminate the Agreement with Micro

 Focus and relieve Micro Focus of its obligations under the Agreement; and it is further

                 ORDERED that the Plan Administrator and any other party may take any other

 action that is necessary or appropriate to carry out this order; and it is further
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                ORDERED that this Court shall retain jurisdiction to hear and determine all

 matters arising from or related to this Order.


 Dated: New York, New York
        July 2, 2019
                                                         /S/ Shelley C. Chapman
                                                         Honorable Shelley C. Chapman
                                                         United States Bankruptcy Judge
